             Case 1:18-cr-00135-CRB-BAM Document 33 Filed 07/31/18 Page 1 of 2
 AO 98 (Rev. 12111- EDCA [Fresno]) Appearance Bond



                                      UNITED STATES DISTRICT·COURT
                                                                     for the                                                ll
                                                 Eastern District of California                                           JUL 3 1 2018
UNITED STJ\TES OF AMERICA,                                                                                        CLERK, L! S. DISTRICT COURT·
                                                                         )                                    ;ASTERN:m~F CALIFORNIA
                                 v.                                      )                                                    DEPUTY CLER~
                                                                         )
                                                                                 Case No.        1:18-cr-00135-DAD-BAM
                                                                         )
BANDARGAMALSALEHALNAGGAR                                                 )
                             Defendant

                                           ~PEARANCE AND COMPLIANCE BOND


                                                          Defendant's Agreement
I, BANDAR GAMAL SALEH ALNAGGAR                                   (defendant), agree to follow every order of this court, or any
court that considers this case, apd 1 further agree that this bond may be forfeited ifl fail:
            ( 181 ) to appear for court proceedings;
            ( 181 ) if convicted, to surrender to serve a sentence ~at the court may impose; or
            ( 181 ) to comply with all conditions set forth in the Order Setting Conditions of Release. ,
                                                               Typ~ of Bond        .
cD ) (1) This is a personal recognizance bond.
( D ) (2) This is an unsecured bond of$ - - , - - - - - - - - - - - , with'ne:t worth of: $
( 181 ) .(3.) This is a secured bond of$          _$_10_0..:...,0_0_0._00_ _ _ _ _ _ , secured by: Real Property

        ( D ) (a) $ - - - - - - - , in cash deposited with the court. ·
                    ~.




        ( l8l ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property ·
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan - and attach proof of
                 ownership and value):
                 Real Property as follows: Property owned by Saleh Ahmed Alnajar .

                 If this bond is secured by real property, documents to protect the· secured interest may be filed of record.

        ( 0) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond. or describe it and identify the surety):
                                                                                                .                          /




                                                     Forfeiture or Release of the Bond ·

Forfeiture ofthe Bond This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court ·
may order a judgment of forfeiture against the defendan~ and each surety for the entire amount of the bond, including
interest and costs.                                                            ·
                Case 1:18-cr-00135-CRB-BAM Document 33 Filed 07/31/18 Page 2 of 2                                        Page2

AO 98 (Rev. 12111- EDCA [Fresno]) Appearance Bond



Release of the Bond The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                         Declarations

Ownership of the Property/Net Worth. I, the defendant- and each surety- declare under penalty of perjury that:
         ( 1)      all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.




I, the defendant- and each surety- declare under penalty of perjury that this information is trile. (See 28 U.S.C.§ 1746.)




                       Saleh Ahmed Alnajar
                Surety/property owner- printed name




                Surety/property owner -printed name                          Surety/property owner -signature and date




                Surety/property owner- printed name                          Surety/property owner- signature and date




                                                                 CLERK OF COURT


                                                                  ~. ·':Yw'L)               k\:.ct oO
                                                                                Signature of Clerk or Deputy Clerk


Approved.

Date: -7/30/18
       ------                                                                            Judge's signature
